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                                            Exhibit I
LIST OF PREPA’S BANK ACCOUNTS, BALANCES, AND PRELIMINARY RESTRICTION CATEGORIZATIONS AS OF
                           SEPTEMBER 30, 2022 AND NOVEMBER 1, 2022
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PREPA:
  Account Number                 Financial           9/30/2022 Balance            11/01/2022                         Categorization
                                Institution                 ($)                   Balance ($) 1
                                                                                                 Restricted: Federal Funds – funds
                                                                                                 provided by U.S. federal agencies,
                                                                                                 including FEMA and the U.S.
                                                                                                 Department of Housing and Urban
    132/BSA-45-4468       First Bank                    $217,984,445.66          $200,786,595.80 Development, for the repair,
                                                                                                 replacement, restoration, improvement,
                                                                                                 resiliency, construction or hazard
                                                                                                 mitigation of the transmission and
                                                                                                 distribution (“T&D”) system
                                                                                                 Restricted: Third Party Contract –
                                                                                                 funds set aside for T&D expenditures
                                                                                                 relating to costs and expenses incurred in
                                                                                                 providing operating and maintenance
                                                                                                 services per Puerto Rico Transmission
                                                                                                 and Distribution System Operation and
    132/BSA-50-2350       First Bank                    $177,186,999.15          $185,011,204.86
                                                                                                 Maintenance Agreement dated as of
                                                                                                 June 22, 2020, by and among PREPA,
                                                                                                 the Puerto Rico Public-Private
                                                                                                 Partnerships Authority, Luma Energy,
                                                                                                 LLC, and Luma Energy Servco, LLC
                                                                                                 (the “LUMA Contract”)
                                                                                                 Restricted: Federal Funds – funds
    132/BCP-55-2348       Banco Popular                 $149,612,983.74          $149,879,821.57 provided by FEMA for working capital
                                                                                                 advances


1
  Updated balances as of November 1, 2022 were obtained from PREPA but have not been independently verified with the relevant financial
institutions. They also identified four additional bank accounts each with a $0 balance, but they are not included in this exhibit because they have
been closed (as confirmed by the relevant financial institutions).
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Account Number          Financial     9/30/2022 Balance        11/01/2022                    Categorization
                       Institution           ($)               Balance ($) 1
                                                                                 Restricted: Federal Funds – funds
                                                                                 provided by FEMA for reimbursement
132/BCP-56-1678   Banco Popular         $112,527,994.33        $184,340,588.50
                                                                                 of costs of repairs from hurricane and
                                                                                 earthquake damages
132/ORI-03-2677   Oriental Bank          $92,196,591.97         $69,924,994.79   Unrestricted
132/BCP-17-4253   Banco Popular          $71,409,622.92         $26,144,003.06   Unrestricted
                                                                                 Restricted: Third Party Contract –
                                                                                 funds set aside for power generation
132/BSA-48-2383   First Bank             $61,599,739.66         $61,828,695.53   expenditures relating to costs and
                                                                                 expenses incurred in providing power
                                                                                 and electricity per the LUMA Contract
                                                                                 Restricted: Third Party Contract –
132/BSA-46-2405   First Bank             $48,907,285.15         $52,193,282.79   funds set aside for contingency reserve
                                                                                 per the LUMA Contract
                                                                                 Restricted: Third Party Contract –
132/BSA-49-2361   First Bank             $46,585,174.70         $29,644,578.79   funds set aside for capital improvements
                                                                                 per the LUMA Contract
                                                                                 Restricted: Third Party Contract –
                                                                                 funds set aside for costs and expenses
132/FIR-58-2515   First Bank             $41,016,997.41         $41,072,522.06
                                                                                 incurred in power generation per the
                                                                                 LUMA Contract
                                                                                 Restricted: Court Order – insurance
                                                                                 proceeds funds set aside per court order
132/CIT-03-5287   Citibank               $36,795,793.35         $12,014,660.34   (PREPA Title III Doc. 514) for repair,
                                                                                 replacement, or reconstruction of
                                                                                 damaged or destroyed property
                                                                                 Restricted: Third Party Contract –
                                                                                 funds set aside for costs and expenses
132/BSA-47-2394   First Bank             $33,659,588.44         $76,564,357.52
                                                                                 incurred in fuel supply arrangement per
                                                                                 the LUMA Contract
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    Account Number               Financial           9/30/2022 Balance            11/01/2022                        Categorization
                                Institution                 ($)                   Balance ($) 1
                                                                                                  Restricted: Third Party Contract –
    132/BSA-51-2372       First Bank                      $30,031,610.07           $30,072,963.19 funds set aside for outage event reserve
                                                                                                  per the LUMA Contract
                                                                                                  Restricted: Federal Funds – funds
    132/BCP-47-2622       Banco Popular                   $22,780,656.14           $22,780,656.14 provided by FEMA for hazard
                                                                                                  mitigation grant program approved costs
    132/CIT-02-5015       Citibank                        $19,445,069.41            $6,144,662.88 Unrestricted
                                                                                                  Asserted to be Restricted: Third Party
    132/FIR-39-5280       First Bank                      $16,918,452.46           $16,940,006.10 Contract – subject to PREPA
                                                                                                  bondholder litigation 2
                                                                                                  Restricted: Bondholder Contract –
                                                                                                  funds held by PREPA bond trustee
    132/USB-01-8002       US Bank                         $16,878,288.09           $16,878,429.13 pursuant to the Trust Agreement of
                                                                                                  1974, as amended, between PREPA and
                                                                                                  bond trustee
    132/FIR-01-0527       First Bank                       $9,576,117.19            $1,573,993.67 Unrestricted
                                                                                                  Restricted: Federal Funds – funds
    132/BCP-11-3540       Banco Popular                    $7,196,157.80           $10,347,137.13 provided by FEMA for Hurricane Maria
                                                                                                  related costs
                                                                                                  Restricted: Federal Funds – funds
    132/BCP-19-5914       Banco Popular                    $3,826,644.93            $6,702,886.81 provided by FEMA for earthquake
                                                                                                  related costs
    132/FIR-40-5281       First Bank                       $3,343,323.16            $3,347,582.46 Unrestricted
    132/BCP-09-2689       Banco Popular                    $2,490,266.00            $2,490,266.00 Unrestricted
    132/BCP-02-3165       Banco Popular                    $2,161,060.93            $2,164,915.30 Unrestricted


2
 This account relates to funds that are subject to litigation regarding the scope of PREPA bond trustee’s security interest (Adv. Proc. No. 19-
00391-LTS).

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    Account Number               Financial          9/30/2022 Balance           11/01/2022                        Categorization
                                Institution                 ($)                 Balance ($) 1
    x6855                 Banco Popular                  $1,985,034.44           $1,988,574.86      Unreviewed 3
    x2592                 Banco Popular                  $1,875,438.02           $1,875,438.02      Unreviewed
    x4708                 Banco Popular                  $1,578,886.00                    N/A 4     Unreviewed
    x5023                 Citibank                       $1,548,651.02           $1,551,558.13      Unreviewed
    x5282                 First Bank                     $1,162,635.32           $1,164,116.49      Unreviewed
    x8000                 US Bank                          $966,889.87             $969,856.41      Unreviewed
    x5201                 Citibank                         $835,476.44             $546,850.94      Unreviewed
    x0158                 Banco Popular                    $631,531.83             $900,325.42      Unreviewed
    x9652                 Banco Popular                    $257,566.50             $257,883.84      Unreviewed
    x7862                 Banco Popular                    $162,119.41             $162,119.41      Unreviewed
    x9317                 Banco Popular                    $143,417.73             $110,968.95      Unreviewed
    x8020                 US Bank                          $126,549.06             $126,550.12      Unreviewed
    x9000                 US Bank                           $65,706.64              $65,707.19      Unreviewed
    x5357                 Banco Popular                     $60,591.73             $297,892.49      Unreviewed
    x8004                 US Bank                           $59,817.06              $59,817.56      Unreviewed
    x8016                 US Bank                           $36,895.93              $36,896.24      Unreviewed
    x2835                 Banco Popular                     $34,000.00              $34,000.00      Unreviewed
    x3524                 Banco Popular                     $31,835.82              $76,235.35      Unreviewed
    x5317                 Citibank                          $25,978.73              $25,978.73      Unreviewed
    x9007                 Banco Popular                       $2,043.88                $624.17      Unreviewed
    x9823                 Banco Popular                       $1,420.76                     N/A     Unreviewed
    x8013                 US Bank                               $944.67                $944.67      Unreviewed
    x8018                 US Bank                               $250.39                $250.39      Unreviewed
    x9001                 US Bank                               $152.61                $152.61      Unreviewed
    x8017                 US Bank                                $46.06                  $46.06     Unreviewed

3
  Accounts with balances lower than $2.0 million were not reviewed for restriction assessment. As of September 30, 2022, the accounts reviewed for
restriction status represented approximately $1.224 billion of the total $1.236 billion, or 99.1% of funds held at the PREPA accounts. The accounts
that have not been reviewed based on the amount threshold are presented in gray boxes.
4
  An updated balance for this account as of November 1, 2022 is not available as of preparation of this exhibit.
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Account Number         Financial    9/30/2022 Balance         11/01/2022                     Categorization
                      Institution          ($)                Balance ($) 1
x0001            US Bank                         $9.96                  $9.96   Unreviewed
x1001            US Bank                         $9.32                  $9.32   Unreviewed
x8015            US Bank                         $5.13                  $5.13   Unreviewed
x8019            US Bank                         $5.03                  $5.03   Unreviewed
x4048            Banco Popular                   $0.00                  $0.00   Unreviewed
x5309            Citibank                        $0.00                    N/A   Unreviewed
x9000            US Bank                         $0.00                    N/A   Unreviewed
x8014            US Bank                         $0.00                    N/A   Unreviewed
x2000            US Bank                         $0.00                    N/A   Unreviewed
x0000            US Bank                         $0.00                    N/A   Unreviewed
x5365            Banco Popular                   $0.00                  $0.00   Unreviewed
x3933            Banco Popular                   $0.00                  $0.00   Unreviewed
x3941            Banco Popular                   $0.00                  $0.00   Unreviewed
x0458            Banco Popular                   $0.00                  $0.00   Unreviewed
x7870            Banco Popular                   $0.00                  $0.00   Unreviewed
x6062            Banco Popular                   $0.00                  $0.00   Unreviewed
x5295            Citibank                        $0.00                  $0.00   Unreviewed
x5104            Citibank                        $0.00                    N/A   Unreviewed
x5112            Citibank                        $0.00                    N/A   Unreviewed
x5074            Citibank                        $0.00                    N/A   Unreviewed
x5279            Citibank                        $0.00                  $0.00   Unreviewed
x5058            Citibank                        $0.00                  $0.00   Unreviewed
x5139            Citibank                        $0.00                  $0.00   Unreviewed
x5147            Citibank                        $0.00                  $0.00   Unreviewed
x5155            Citibank                        $0.00                  $0.00   Unreviewed
x5244            Citibank                        $0.00                    N/A   Unreviewed
x1414            Oriental Bank                   $0.00                  $0.00   Unreviewed
x3073            Oriental Bank                   $0.00                  $0.00   Unreviewed
x8003            US Bank                         $0.00                    N/A   Unreviewed
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Account Number        Financial    9/30/2022 Balance       11/01/2022                    Categorization
                     Institution          ($)             Balance ($) 1
x8021            US Bank                        $0.00                 N/A   Unreviewed
x4099            US Bank                        $0.00                 N/A   Unreviewed
x3001            US Bank                        $0.00                 N/A   Unreviewed
x4001            US Bank                        $0.00                 N/A   Unreviewed
x5000            US Bank                        $0.00                 N/A   Unreviewed
TOTAL                               $1,235,724,772.02   $1,219,101,621.91




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